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             IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF GEORGIA
                       AUGUSTA DIVISION

THE TWELFTH CONGRESSIONAL                 )
DISTRICT REPUBLICAN                       )
COMMITTEE, BRIAN W. TUCKER,               )
an individual voter and resident of
                                          )
Richmond County, CATHY A.
LATHAM, a 2020 candidate for              )
Presidential Elector, and EDWARD T.       )
METZ, a 2020 candidate for Presidential   )
Elector,                                  )
                                          )
                   Plaintiffs,            )
                                            Civil Action File No.
v.                                        )
                                          )
BRADFORD J. RAFFENSPERGER, in             )
his official capacity as SECRETARY        )
OF STATE OF GEORGIA; REBECCA              )
N. SULLIVAN, DAVID J. WORLEY,             )
MATTHEW MASHBURN, and ANH                 )
LEE, in their official capacities as
                                          )
Members of the Georgia State Election
Board; and TIM MCFALLS, MARCIA            )
BROWN, SHERRY T. BARNES,                  )
TERENCE DICKS, and BOB                    )
FINNEGAN, in their official capacities    )
as Members of the RICHMOND                )
COUNTY BOARD OF ELECTIONS,                )
                  Defendants.             )
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     COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

      THE TWELFTH CONGRESSIONAL DISTRICT REPUBLICAN

COMMITTEE, BRIAN W. TUCKER, CATHY A. LATHAM, and EDWARD T.

METZ, by counsel, file this Complaint alleging and asserting the following:

                                NATURE OF THE CASE

      1.     Pursuant to the mandate of Article II, § 1, cl. 2 and Article I, § 4 cl. 1

of the United States Constitution, the Georgia General Assembly enacted O.C.G.A.

§§ 21-2-382, 21-2-385, and 21-2-386.

      2.     O.C.G.A. § 21-2-382 specifies how and where absentee ballots may

be delivered to county election officials.

      3.     O.C.G.A. § 21-2-385(a) requires electors or certain authorized

representatives of electors to "personally mail or personally deliver [their absentee

ballots] to the board of registrars or absentee ballot clerk."

      4.     O.C.G.A. § 21-2-386(a)(1)(B) requires that upon receipt of each

absentee ballot, a registrar or clerk must verify the elector's signature.

      5.     O.C.G.A. § 21-2-386(a)(1)(G)(2) prohibits the opening of absentee

ballot envelopes before the polls open for a runoff election.

      6.     O.C.G.A. § 21-2-386(a)(3) authorizes county election officials to

begin opening the inner envelope containing an absentee ballot and to begin

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tabulating absentee ballots after the polls open on Election Day. That subsection

also provides for monitoring of the tabulation of absentee ballots by designees of

candidates.

       7.     These statutes, which codify a specific and detailed procedure for

requesting, delivering, processing, verifying and monitoring the tabulation of

absentee ballots, are designed to protect Georgians from the universally

acknowledged dangers of widespread mail-in absentee voting, which carries a

significant risk of election irregularities and vote fraud.1

       8.     Specifically, mail-in absentee voting creates opportunities to obscure

the true identities of persons fraudulently claiming to be legitimate electors and

facilitates the collection of large quantities of purportedly valid absentee ballots by

third-parties– commonly called "ballot harvesting" – that results in an

extraordinary increase in the number of absentee ballots received by county

election officials, including many that are not received and verified in accordance

with the procedure required by applicable Georgia statutes.

       9.     Without authorization from the Georgia General Assembly and

despite the plain language of the applicable Georgia statutes to the contrary,


1
 Former President Jimmy Carter and Secretary of State James A. Baker, III, Co-chairs, Building
Confidence in U.S. Elections, COMMISSION ON FEDERAL ELECTION at p.46, available online at
https://www.legislationline.org/download/id/1472/file/3b50795b2d0374cbef5c29766256.pdf.
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Defendants Secretary of State and the State Election Board ("SEB") promulgated

and enforced new election rules and procedures that effectively override the

requirements enacted by the General Assembly in O.C.G.A. §§ 21-2-382, 21-2-385

and 21-2-386. These new rules are SEB Rule 183-1-14-0.6-.14 (Exhibit A) and

183-1-14-0.9-.15 (Exhibit B). In addition, Defendant Raffensperger has issued a

new procedural requirement regarding verification of absentee ballot signatures

that eliminates the requirement of O.C.G.A. § 21-2-386(a)(1)(B) that the signature

on the absentee ballot envelope matches both the signature on the application for

an absentee ballot and the signature on the absentee voter’s voter registration card.

(Exhibit C).

      10.      On information and belief, Defendant Raffensperger's office has

instructed county election officials that they are not signature matching experts,

which has the effect of discouraging election officials from undertaking the careful

verification of absentee voter signatures required by O.C.G.A. § 21-2-

386(a)(1)(B).

      11.      These new rules allow absentee ballots to be delivered to unattended

drop boxes by individuals other than relatives or members of the households of

absentee ballot voters with no mechanism to ensure their legitimacy as required by

§§ 21-2-382 and 21-2-385; allow county election officials to open absentee ballot

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envelopes and scan absentee ballots beginning more than three weeks before

Election Day in violation of § 21-2-386(a)(2); and allow absentee ballots to be

processed without the verification of signatures required by § 21-2-386(a)(1)(B).

        12.   Defendants Secretary of State and SEB will implement these new

rules during the United States Senate run-off elections concluding on January 5,

2020.

        13.   Plaintiffs seek prospective relief to: (a) invalidate SEB Rule 183-1-

0.6-14 and prohibit the use of drop boxes for the receipt of absentee ballot

envelopes in violation of O.C.G.A. § 21-2-385(a); (b) invalidate SEB Rule 183-1-

14-0.9-.15 and prohibit the opening of absentee ballot envelopes before Election

Day; and (c) invalidate Defendant Raffenperger's Official Election Bulletin

regarding absentee ballot signature review guidance and order election officials to

comply with the signature verification requirements of O.C.G.A. § 21-2-

386(a)(1)(B).

                                       PARTIES

        14.   Plaintiff THE TWELFTH CONGRESSIONAL DISTRICT

REPUBLICAN COMMITTEE ("the 12th District Committee") is a Georgia

unincorporated organization and the official Republican organization for the 12th

Congressional District of the State of Georgia. It is committed to electing

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candidates of the Republican Party who will advance the values and beliefs

generally shared by Republican Party members. The 12th District Committee and

its members will be directly harmed in future elections if SEB Rules 183-1-14-0.6-

.14 and 183-1-14-0.9-.15 and the new verification procedure imposed by

Defendant Raffensperger remain in force. This is because the 12th District

Committee's right of free association and its right to equal treatment under the laws

guaranteed by the United States and Georgia Constitutions will be violated. Under

Defendants' new rules and procedures that facilitate ballot harvesting, the 12th

District Committee's efforts to elect candidates of the Republican Party to office

will be severely and negatively affected because those requirements will

necessitate the diversion of the Committee’s focus, energy and resources. See

Declaration of Buck Moon, Chairman of the 12th District Committee (Exhibit D).

      15.    Plaintiff BRIAN W. TUCKER is a resident of Richmond County and

a registered voter of the State of Georgia. Mr. Tucker is a member of the

Republican Party who voted in person in the November 2020 election and intends

to vote in person in the January 2021 runoff elections. He has been injured by the

disparate treatment that he receives as a registered voter who votes in person and is

required to establish his personal identity with an officer of election before he is

able to cast his vote, while absentee voters are allowed to vote without the same

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scrutiny of personal identification under procedures established by Defendants

Raffensperger and the SEB. As a member of the Republican Party, his right to

freedom of association has been violated by Defendants by the new rules and

procedures that facilitate ballot harvesting and vote fraud.

      16.    Plaintiff CATHY A. LATHAM is a resident of Coffee County and a

registered voter of the State of Georgia. She is a member of the Republican Party

who voted early in person at the November 2020 election and intends to vote in

person in future elections. She was selected in accordance with applicable Georgia

law and the rules of the Georgia Republican Party to appear as a member of the

Republican Presidential Elector Slate on the November 3, 2020 general election

ballot. She intends to seek that office again in 2024. She has been injured by the

disparate treatment that she receives as a registered voter who votes in person and

is required to establish her personal identity with an officer of election before she

is able to cast her vote, while absentee voters are allowed to vote without the same

scrutiny of personal identification under the procedures established by Defendants

Raffensperger and the SEB. As a member of the Republican Party and a member

of the 12th Congressional District Republican Committee, her right to political

association has been infringed by Defendants' new rules and procedures that

facilitate ballot harvesting and vote fraud.

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      17.    Plaintiff EDWARD T. METZ is a resident and a registered voter of

the State of Georgia. He voted early in person for the November 2020 election and

intends to vote in person in future elections. He was selected in accordance with

applicable Georgia law and the rules of the Georgia Libertarian Party to appear as

a member of the Libertarian Presidential Elector Slate on the November 3, 2020

general election ballot. He intends to seek that office again in 2024. He has been

injured by the disparate treatment that he receives as a registered voter who votes

in person and is required to establish his personal identity with an officer of

election before he is able to cast his vote, while absentee voters are allowed to vote

without the same scrutiny of personal identification under procedures established

by Defendants Raffensperger and the SEB. As a member of the Libertarian

Presidential Elector Slate, his right to freedom of association has been infringed by

the rules allowing delivery of absentee ballots to drop boxes and the opening of

absentee ballot envelopes weeks before Election Day, as well as Defendant

Raffensperger's directive regarding signature verification of absentee voters that

eliminates the requirement that the signature on the ballot envelope match the

signature in the voter registration file, which facilitates vote fraud.

      18.    Defendant BRADFORD P. RAFFENSPERGER is sued in his official

capacity as the Secretary of State of Georgia (hereinafter "Raffensperger" or the

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"Secretary"). He is a state official subject to suit in his official capacity because his

office "imbues him with the responsibility to enforce the law or laws at issue in the

suit." Grizzle v. Kemp, 634 F.3d 1314, 1319 (11th Cir. 2011). Specifically, the

Secretary is the chief elections officer of the State and is therefore responsible for

the administration of the state laws affecting voting, including the absentee voting

system. O.C.G.A. § 21-2-50(b). As Secretary of State, Mr. Raffensperger serves as

the Chair of the State Election Board, which is the body responsible for ensuring

uniform election practice in Georgia.

      19.    Defendants BRADFORD P. RAFFENSPERGER, DAVID J.

WORLEY, REBECCA N. SULLIVAN, MATTHEW MASHBURN, and ANH

LEE, are members of the SEB responsible for "promulgat[ing] rules and

regulations so as to obtain uniformity in the practices and proceedings of

superintendents, registrars, deputy registrars, poll officers, and other officials, as

well as the legality and purity in all primaries and elections." Id. at § 21-2-31(1).

The State Election Board Members are responsible for "formulat[ing], adopt[ing],

and promulgat[ing] such rules and regulations, consistent with law, as will be

conducive to the fair, legal, and orderly conduct of primaries and elections; and,

upon the adoption of each rule and regulation, the board shall promptly file

certified copies thereof with the Secretary of State and each superintendent." Id. at

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§ 21-2-31(2). The State Election Board Members, personally and through the

conduct of their employees, officers, agents, and servants, acted under color of

state law at all times relevant to this action, and are sued for declaratory and

injunctive relief in their official capacities.

       20.    The Secretary of State and the SEB have the authority to direct the

officials in each county who are responsible for administering elections

(collectively "the county election officials"). As such, the SEB is the agency of the

State of Georgia charged with the duties, among others, of promulgating rules and

regulations so as to obtain uniformity in the practices and proceedings of

superintendents, registrars, poll officers, and other officials, as well as the legality

and purity in all primaries and elections, and to define uniform and

nondiscriminatory standards concerning what constitutes a vote and what will be

counted as a vote for each category of voting system used in the state.

       21.    Defendants TIM MCFALLS, MARCIA BROWN, SHERRY T.

BARNES, TERENCE DICKS, and BOB FINNEGAN (collectively the "Richmond

Board"), are sued for declaratory and injunctive relief in their official capacities as

members of the Richmond County Board of Elections.




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                             JURISDICTION AND VENUE

      22.    Plaintiffs bring this action under the United States Constitution and

under 42 U.S.C. §§ 1983 and 1988 to redress the deprivation under color of state

law of rights secured by the United States Constitution, as well as to vindicate their

rights under Georgia law.

      23.    This Court has original jurisdiction over the subject matter of this

action pursuant to 28 U.S.C. §§ 1331 and 1343 because the matters in controversy

arise under the United States Constitution and laws of the United States.

      24.    This Court also has supplemental jurisdiction over state law claims

under 28 U.S.C. § 1367.

      25.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

Defendants Tim McFalls, Marcia Brown Sherry T. Barnes, Terence Dicks, and

Bob Finnegan are residents in this District. Additionally, a substantial part of the

events or omissions giving rise to the claim occurred in this District. The

declaratory and injunctive relief sought by this action will enjoin the enforcement

in this District of the illegally promulgated rules and deprive the Richmond County

Board of any legal authority to enforce Defendants' new rules and procedures that

have injured and will continue to injure Plaintiffs.




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          26.   This Court may grant declaratory relief pursuant to 28 U.S.C. § 2201

and 2202.

                            CONSTITUTIONAL FRAMEWORK

          27.   The Elections Clause of the United States Constitution states: "The

Times, Places, and Manner of holding Elections for Senators and Representatives,

shall be prescribed in each State by the Legislature thereof." U.S. CONST. art. I, § 4,

cl. 1.

          28.   The Electors Clause of the United States Constitution states:

          [The President] shall . . . together with the Vice President, chosen for the
          same Term, be elected, as follows: Each State shall appoint, in such Manner
          as the Legislature thereof may direct, a Number of Electors, equal to the
          whole Number of Senators and Representatives to which the State may be
          entitled in the Congress . . . .

U.S. CONST. art. II, § 1, cl. 2.

          29.   The "Legislature" of the State of Georgia is the Georgia General

Assembly.

          30.   Defendants are not part of the General Assembly and cannot exercise

its powers.

          31.   Because the United States Constitution reserves to the General

Assembly the power to set the time, place, and manner of holding elections for

Senators and Representatives, county boards of elections and state executive

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officers have no authority to unilaterally exercise that power, much less to

promulgate rules that conflict with existing legislation.

      32.    Defendants' new rules and procedures that are in direct conflict with

the unambiguous requirements of O.C.G.A. §§ 21-2-382, 21-2-385 and 21-2-386

affect the "time, place, and manner of holding elections for Senators and

Representatives" and will apply in future Presidential elections, they violate both

the Electors and the Elections Clauses of the United States Constitution.

      33.    Independent of the Electors and Elections Clauses, Defendants' new

rules and procedures violate Plaintiffs' rights to freedom of association and the

equal protection of the laws guaranteed by the Fourteenth Amendment to the

United States Constitution.

                       STATEMENT OF FACTS AND LAW

                      DEFENDANTS' NEW RULE AND PROCEDURES

Allowing Early Opening of Absentee Ballot Envelopes

      34.    Defendants promulgated SEB Rule 183-1-14-0.9-.15 (Processing

Absentee Ballots Prior to Election Day), which directly conflicts with the

requirement in O.C.G.A. § 21-2-386(a)(2) that absentee ballots shall not be opened

until Election Day.




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      35.    That rule authorizes county election officials to open envelopes

containing absentee ballots as early as three weeks before Election Day, to remove

the absentee ballots, and to scan the ballots.

      36.    By separating the ballots from the envelopes, the ability to track the

absentee ballot with the signature on the accompanying inner envelope is

compromised, thereby precluding the required verification that the absentee ballot

is submitted by a voter qualified to participate in the election.

Installation of Unattended Drop Boxes

      37.    On August 11, 2020, Defendants Raffensperger and the SEB adopted

Rule 183-1-14-0.6-.14 authorizing the use of drop boxes in order to provide, as the

rule states, "a means for absentee by mail electors to deliver their ballots to the

county registrars."

      38.    By this rule, Defendant SEB permitted and encouraged the installation

and use of unattended drop boxes within Georgia's counties as a means for delivery

of absentee ballots.

      39.    SEB Rule 183-1-14-0.6-.14 claims that a drop box "shall be deemed

delivery pursuant to O.C.G.A. § 21-2-385."




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      40.    This rule's definition of delivery is in direct conflict with the language

of O.C.G.A. § 21-2-385, which the Georgia General Assembly amended in 2019

specifically to prohibit ballot harvesting.

      41.    O.C.G.A. § 21-2-385 now specifies only two options for the

submission of an absentee ballot: "the elector shall then personally mail or

personally deliver the same to the board of registrars or absentee ballot clerk . . . ."

      42.    O.C.G.A. § 21-2-382(a) establishes the precise locations where an

election official may receive an absentee ballot from the individual voter or their

family member. These sites are defined as "additional registrar's offices or places

of registration."

      Any other provisions of this chapter to the contrary notwithstanding, the board
      of registrars may establish additional sites as additional registrar's offices or
      places of registration for the purpose of receiving absentee ballots under Code
      Section 21-2-381 and for the purpose of voting absentee ballots under Code
      Section 21-2-385, provided that any such site is a branch of the county
      courthouse, a courthouse annex, a government service center providing
      general government services, another government building generally
      accessible to the public, or a location that is used as an election day polling
      place, notwithstanding that such location is not a government building.

      43.    O.C.G.A. § 21-2-2(27) defines a "polling place" to mean "the room

provided in each precinct for voting at a primary or election."




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      44.    O.C.G.A. § 21-2-382(b) provides that in larger population areas, such

as Fulton, DeKalb, Gwinnett, and Cobb counties, the following sites would

automatically serve as additional receiving locations for absentee ballots:

      any branch of the county courthouse or courthouse annex established within
      any such county shall be an additional registrar's or absentee ballot clerk's
      office or place of registration for the purpose of receiving absentee ballots . .
      . under Code Section 21-2-385.

      45.    A drop box is not included in the list of additional reception sites

described in the exercise in O.C.G.A. § 21-2-382(a) and (b) and is not within the

meaning of a "registrar's office or places of registration" in O.C.G.A. § 21-2-386

      46.    A "registrar's office or places of registration" contemplates a building

with staff capable of receiving absentee ballots and verifying the signature as

required by the procedures prescribed in § 21-2-386.

      47.     A drop box cannot be deemed a location to apply for an absentee

ballot "in person in the registrar's or absentee ballot clerk's office" as prescribed by

§ 21-2-381 nor can it be a location for an elector to appear "in person" to present

the absentee ballot to the "board of registrars or absentee ballot clerk," as

prescribed by § 21-2-385.

      48.    Pursuant to O.C.G.A. § 21-2-380.1, only the absentee ballot clerk can

perform the functions or duties prescribed in the Election Code. The absentee


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ballot clerk "may be the county registrar or any other designated official who shall

perform the duties set forth in this article."

      49.     Throughout the Georgia Election Code, the legislature clearly

contemplated a staffed office or building for voter registration, receipt of absentee

ballot applications, and receipt of absentee ballots so that the voter can deliver the

ballot "in person" or through their designated statutory agent. E.g., O.C.G.A. § 21-

2-385.

      50.     Drop boxes make it easier for political activists to conduct ballot

harvesting to gather votes. Because there is a break in the chain of custody of those

authorized by statute to collect and deliver absentee ballots, which produces

opportunities for political activists to submit fraudulent absentee ballots, the

opportunity for illicit votes to be counted is significantly increased.

      51.     The continued use of drop boxes will significantly affect the way in

which the 12th District Committee and the individual Plaintiffs conduct their

activities because it forces them to modify their campaign appeal to the electorate

in order to garner and enhance the support for their candidates under the changed

circumstances and to redirect their focus, energy and resources to counter ballot

harvesting.




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      52.    The break in the chain of custody caused by the use of drop boxes not

only hinders the 12th District Committee's ability to advance its political interests

by inevitably forcing a redirection of its focus and message, as well as the need for

to secure greater resources, but it also increases the chances that an absentee voter

will cast his or her vote under the improper influence of another individual and

enhances opportunities for ballot theft or submission of illicitly generated absentee

ballots to the detriment of the 12th District Committee, its candidates, and its

adherents in the election.

      53.    While Burke, Taliaferro, Columbia and Warren counties did not

install drop boxes, Richmond County installed five drop boxes, Jefferson County

three, McDuffie County two, and Warren, Glascock, and Lincoln Counties one.

      54.    On information and belief, county election officials plan to install

more drop boxes within their respective jurisdictions.

Verifying Absentee Elector's Signatures

      55.    O.C.G.A. § 21-2-386(a)(1)(B) requires that upon receipt of each

absentee ballot, a registrar or clerk must compare the elector's signature or mark on

the oath on the absentee ballot envelope with the elector's voter registration card or

the most recent update to such card and application for absentee ballot to determine




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if the elector's signature is correct and, if so, certify that fact by signing or initialing

the name of the registrar or clerk below the elector's oath.

       56.    In many instances during the 2020 general election, registrars and

clerks failed to perform the required signature verification.

       57.    Once absentee ballots are separated from the envelopes in which they

were sealed, the required matching of the signatures on the envelopes with the

signatures on the absentee ballot applications and the voters' signatures in the voter

registration file will not allow for the disqualification of the absentee ballot, if

indicated, because the ballot can no longer be linked to the envelope.

       58.    In Defendant Raffensperger's May 1, 2020 Official Election Bulletin,

county election officials (Exhibit C) were instructed to conduct the verification of

absentee ballot signatures as follows:

       If the registrar or absentee ballot clerk determines that the voter's signature on
       the mail-in absentee ballot envelope does not match any of the voter's
       signatures on file in eNet or on the absentee ballot application, the registrar or
       absentee ballot clerk must seek review from two other registrars, deputy
       registrars, or absentee ballot clerks.

       59.    The foregoing instruction is in direct conflict with the requirement in

O.C.G.A. § 21-2-386(A)(1)(B) that the signature of an absentee voter must be

compared against both the voter's signature or mark on his or her registration card

and on the application for the absentee ballot:

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      The registrar or clerk shall then compare the identifying information on the
      oath with the information on file in his or her office, shall compare the
      signature or mark on the oath with the signature or mark on the absentee
      elector's voter registration card or the most recent update to such absentee
      elector's voter registration card and application for absentee ballot or a
      facsimile of said signature or mark, and shall if the information and signature
      appear to be valid and other identifying information appears to be correct, so
      certify by signing or initialing his or her name below the voter’s oath.

      60.    Because signature verification of every absentee elector's signature is

essential to prevent the counting of illicit or fraudulent absentee ballots,

Defendants must conduct signature verification as required by O.C.G.A. § 21-2-

386(a)(1)(B) for every absentee ballot received and not as instructed by Defendants

Raffensperger and the SEB.

      61.    All of the allegations contained in this Complaint are incorporated and

realleged in each of the following counts below as may be required and as if

restated therein.

                                      COUNT I
                                  (All Defendants)
        Violation of Article I, § 4, cl. 2 of the United States Constitution

      62.    Article I, § 4, cl. 2 of the United States Constitution confers on the

legislature of each of the States the power to regulate the "Times, Places, and

Manner of holding Elections for Senators and Representatives."

      63.    O.C.G.A. § 21-2-31 permits the Secretary of State and the SEB the

authority to promulgate rules "consistent with" the laws of this State.
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      64.    SEB Rules 183-1-14-0.6-.14 and 183-1-14-0.9-.15 promulgated by the

Secretary of State and the SEB and the new signature verification requirements

ordered by Defendant Raffensperger conflict directly with O.C.G.A. §§ 21-2-382,

21-2-385, and 21-2-386 and are beyond the authority conferred on Defendants by

O.C.G.A. § 21-2-31.

      65.    Accordingly, Defendants have violated Article I, § 4, cl. 2 by usurping

power granted solely to the Georgia General Assembly.

      66.    Plaintiffs will suffer particularized injury as a result of Defendants'

violations of Article I, § 4, cl. 2 in the form of blatantly unequal treatment as voters

and monitors of vote counting who are associated with the Libertarian and

Republican parties when compared to the treatment received by similarly situated

individuals associated with the Democratic Party and by the denial of their right of

freedom of association.

                                     COUNT II
                                 (All Defendants)
       Violation of Article II, § 1, cl. 2 of the United States Constitution

      67.    Article II, § 1, cl. 2 confers exclusive power on state legislatures to

appoint Presidential electors in the manner chosen by the state legislators.




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      68.    SEB Rules 183-1-0.6-14 and 183-1-14-0.9-.15 promulgated by the

Secretary of State and the SEB directly conflicts with O.C.G.A. § 21-2-385. The

promulgation of that rule is beyond the authority granted by O.C.G.A. § 21-2-31.

      69.    Plaintiffs will suffer particularized injury as a result of Defendants'

violations of Article I, § 4, cl. 2 in the form of blatantly unequal treatment as voters

and monitors of vote counting who are associated with the Libertarian and

Republican parties when compared to the treatment received by similarly situated

individuals associated with the Democratic Party and by the denial of their right of

freedom of association.

                                 COUNT III
                               (All Defendants)
     Violation of the First Amendment's Right to Freedom of Association

      70.    Plaintiffs' right to vote is a function of their right to associate freely

with other individuals who share a common set of political beliefs and who intend

to advance those beliefs by electing candidates who represent those beliefs.

      71.    Plaintiffs have the right to have their votes counted in a reliable

manner without discount or cancellation.

      72.    Defendants' adoption of procedures that conflict with Georgia statutes

designed to assure that every absentee voter is qualified to vote and that enable

numerous absentee voters to vote illegally effectively discounts and cancels the

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votes of the individual Plaintiffs and injures the 12th District Committee in its

efforts to persuade the electorate and elect its candidates by necessitating the

diversion of focus, energy and resources from activities that the 12th District

Committee would otherwise undertake to efforts to counter or minimize the

consequences of the ballot harvesting that is facilitated by Defendants' new rules

and procedures.

       73.    Plaintiffs' right to associate freely with others who share their political

values and beliefs is protected by the First and Fourteenth Amendments. Their

right to vote is a function of that right. The individual Plaintiffs have a right to

have their votes counted if lawful in a reliable manner without discount or

cancellation. But the right to vote is but a part of the political activity that the First

Amendment protects.

       74.    The First Amendment guarantees citizens and political parties the

right to express their messages to the voters at large or to targeted groups of voters

in support of their candidates and to choose the methods for doing so that they

consider best calculated to achieve success.

       75.    SEB Rules 183-1-0.6-14 and 183-1-14-0.9-.15, the drop boxes, and

Defendant Raffensperger's new requirement regarding verification of absentee

ballot signatures have the unavoidable effect of causing Plaintiffs to alter their

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message to voters, to reallocate resources, and to redirect their focus and energy

during a political campaign.

      76.    Defendants' new rules and procedures increase the likelihood that

illicit absentee ballots will be included in the final and total count in future

elections because it results in the chain of custody of absentee ballots by persons

authorized by O.C.G.A. § 21-2-385 being broken.

      77.    The risk of counting illicit ballots that is enhanced by the lack of

required signature verification, the break in the chain of custody attributable to the

use of drop boxes, and the extraordinary increase in the volume of drop-off ballots

that the new rule facilitates, which results in inadequate scrutiny of the identity of

those who submit absentee ballots due to the sheer number of ballots to be

reviewed and the time available to verify the voters' signatures.

      78.    Under Article II, § 1, cl. 2 of the United States Constitution, when the

Georgia General Assembly exercises the power to appoint Presidential electors, the

other provisions of the United States Constitution must be complied with,

including the Free Speech and Freedom of Assembly Clauses of the First

Amendment and the Equal Protection Clause of the Fourteenth Amendment.

      79.    The new procedures and requirements that Defendants and county

election officials will continue to follow contrary to the plain language of

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O.C.G.A. §§ 21-2-382, 21-2-385, and 21-2-386 cause Plaintiffs, particularly the

12th District Committee, to alter their political message, campaign focus, and

allocation of resources to respond to the effects of Defendants' unauthorized

actions that enable Democratic Party officials, candidates, and activists, as well as

other individuals and organizations, to flood county election officials with mail-

in/drop-off absentee ballots which are not processed under the safeguards provided

by the above-referenced Georgia statutes.

      80.     By substantially expanding the number of potential voters who submit

ballots in an election cycle without properly and lawfully enforcing the statutory

requirements governing voter participation, Defendants have negatively affected

the 12th District Committee’s ability to use its resources effectively to support its

candidates.

      81.     The acknowledged potential of widespread election fraud that

Defendants facilitate by funding unattended drop boxes, declining to verify the

identity of every absentee voter, and permitting the opening of absentee ballot

envelopes weeks before an election, thereby enhancing opportunities for illegal

vote harvesting, forces the 12th District Committee to redirect its focus, energy and

resources to minimize the risk of election fraud at the expense of reaching voters

with its message and conducting voter contact programs.

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                                    COUNT IV
                                 (All Defendants)
                     Violation of the Equal Protection Clause

      82.    The procedure established by Defendants Raffensperger and the SEB

for confirming the identity of an absentee voter is different and far less rigorous

than the procedure that they have established to confirm the personal identification

of each in-person voter. The disparate treatment of the individual Plaintiffs who

vote in person when compared to the treatment of absentee voters resulting from

the new unauthorized procedures and requirements is a violation of the Equal

Protection Clause of the Fourteenth Amendment to the United States Constitution.

      83.    The disparate treatment of the 12th District Committee and its

designated monitors who were prevented from observing vote counting and

signature verification when compared to the treatment of Democrats similarly

appointed violates the 12th District Committee's right to equal application of the

laws by Georgia officials, which is protected by the Equal Protection Clause of the

Fourteenth Amendment to the United States Constitution.

      84.    Defendants were acting under color of Georgia law in promulgating

SEB Rules 183-1-14-0.6-.14 and 183-1-14-0.9-.15 and in issuing the new

requirement regarding signature verification, each of which rule and requirement is

in direct conflict with the applicable Georgia statutes.

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                                   COUNT V
                                (All Defendants)
               Violation of the Georgia Constitution and Statutes

      85.    Under the law of the State of Georgia, public officials exercise only

those powers expressly conferred on them by the Constitution of Georgia or

statutes enacted by the General Assembly.

      86.    Article II, § 1 of the Georgia Constitution that elections "shall be

conducted in accordance with procedures provided by law."

      87.    O.C.G.A. § 21-2-31 reaffirms the legislature's prerogative that the

SEB may only promulgate rules that are "consistent with law".

      88.    The Richmond County Board of Elections may only promulgate rules

"consistent with law" pursuant to O.C.G.A. § 21-2-70.

      89.    Defendants Bradford Raffensperger and SEB exceeded their delegated

authority by promulgating SEB Rules 183-1-14-0.6-.14 and 183-1-14-0.9-.15 and

by Defendant Raffensperger's imposition of the requirement on county election

officials in his Official Election Bulletin regarding absentee ballot signature review

guidance. Each of those actions is in direct conflict with laws enacted by the

General Assembly concerning the handling of absentee ballots and the envelopes

in which they are submitted.




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       90.    Defendants on the Richmond County Board of Elections likewise

exceeded their delegated authority by enforcing SEB Rules 183-1-14-0.6-.14 and

183-1-14-0.9-.15 and by applying Defendant Raffensperger's signature verification

directive.

       91.    The promulgation and enforcement of SEB Rules 183-1-14-0.6-.14

and 183-1-14-0.9-.15 and the issuance of the Official Election Bulletin directive by

Defendants violated Plaintiffs' rights under Georgia law by imposing an unlawful

burden on their exercise of the right to vote and the right to be free from arbitrary

action by government officials.

                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs request the following relief:

       (a)    Entry of an Order and Judgment declaring that Rules 183-1-14-0.9-.15

and 183-1-14-0.6-.14 and Defendant Raffesperger's new instruction in his Official

Election Bulletin to county election officials regarding signature verification of

absentee ballot voters are invalid as violative of Art. I, § 4, cl. 1 and Art. II, § 1, cl.

2 of the United States Constitution and the applicable statutes of the State of

Georgia;

       (b)    Entry of an Order and Judgment declaring that the enforcement of

SEB Rules 183-1-14-0.6-.14 and 183-1-14-0.9-.15 and Defendant Raffensperger's

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new instruction in his Official Election Bulletin to county election officials

regarding signature verification of absentee ballot voters results in disparate

treatment of Plaintiffs who vote in person when compared to those voters who vote

by absentee ballot, thereby burdening Plaintiffs' right to vote in violation of the

Equal Protection Clause of the Fourteenth Amendment;

      (c)    Entry of an Order temporarily, preliminarily, and permanently

enjoining Defendants to direct county election officials to verify each absentee

ballot signature; to allow properly designated monitors to have reasonable and

meaningful opportunity to observe the signature verification process and the ballot

tabulation process; and to prohibit Defendants from utilizing and authorizing and

utilizing drop boxes for the collection of absentee ballot envelopes;

      (d)    Retain jurisdiction and maintain the status quo of the procedures

clearly established by the Georgia Code until completion of the runoff elections on

January 5, 2020;

      (e)    Entry of an Order and Judgment awarding Plaintiffs their attorneys'

fees and costs under 42 U.S.C. § 1988; and

      (f)    Any other and further relief that this Court deems equitable under the

circumstances.




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                           Respectfully submitted,

                           THE 12TH CONGRESSIONAL DISTRICT
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                         CERTIFICATE OF SERVICE

      I hereby certify that on December 9, 2020, I electronically filed this document

with the Clerk of Court using the CM/ECF system which will automatically send

email notification of such filing to the attorneys of record. However, because no

counsel has entered an appearance in this matter, I also certify that I caused a true

and correct copy of the foregoing and all attachments in the above captioned matter

to be sent via email notification to the parties who are not yet served via email (and

FedEx on December 9) as follows:

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This 9th day of December, 2020.



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